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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 MARYLAND SHALL ISSUE, INC., et al., )
                                     )
 Plaintiffs,                         )
                                     )
 v.                                  ) Case No. 8:21-cv-01736-TDC (L)
                                     ) Case No. 8:22-cv-01967-DLB
 MONTGOMERY COUNTY, MD,              )
                                     )
 Defendant.                          )


                               CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on December 6, 2022, the forgoing

“PLAINTIFFS’ EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER

AND EMERGENCY MOTION FOR A PRELIMINARY INJUNCTION” and supporting

MEMORANDUM and Exhibits were served on opposing counsel listed below via ECF service:


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/s/ Mark W. Pennak
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Dated: November 29, 2022.
